Case 2:O4-cV-O2947-.]DB-tmp Document 13 Filed 05/09/05 Page 1 of 2 Page|D 22

IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE WESTERN DISTRICT OF TENNESSEE

 

 

WESTERN DIVISION

THADDEUS MATTHEWS )
d/b/a EXPRESS YOURSELF, )
)
Plaintiff/Counter-Defendant, )
)

v. ) No. 04-2947 B/P
)
WMQM, INC., )
d/b/a AM 1600, )
)
Defendant/Counter-Plaintiff. )
)

 

[PBMED] ENTRY OF DEFAUL'I`

 

Pursuant to the request to enter default and affidavit filed, default is hereby entered on
this day of , 2005 against Plaintiff/Counter-Defendant Thaddeus Matthews
d/b/a/ Express Yourself for failure to plead or otherwise defend the counterclaim brought by

Defendant/Counter-Plaintiff WMQM, Inc. d/b/a AM 1600.

 

Clerz:.;s/ v
Uni ates District Court for the

Western Distriet of Tennessee

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:04-CV-02947 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

